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                                       UNITED STATES DISTRICT COURT
                                                       District of Minnesota
 Richard D. Sletten, Clerk
 Wendy S. Osterberg, Chief Deputy Clerk

 700 Federal Building                     202 U.S. Courthouse       417 Federal Building       212 U.S. Courthouse
 316 North Robert Street                  300 South Fourth Street   515 West. First Street     118 South Mill Street
 St. Paul, MN 55101                       Minneapolis, MN 55415     Duluth, MN 55802           Fergus Falls, MN 56537
 (651) 848-1100                           (612) 664-5000            (218) 529-3500             (218) 739-5758



                                                           CIVIL NOTICE


 The purpose of this notice is to summarize the time limits for filing with the District Court Clerk's
 Office a Notice of Appeal to the Eighth Circuit Court of Appeals from a final decision of the District
 Court in a civil case.

             This is a summary only. For specific information on the time limits for filing a Notice
             of Appeal, review the applicable federal civil and appellate procedure rules and
             statutes.

 Rule 4(a) of the Federal Rules of Appellate Procedure (Fed. R. App. P.) requires that a Notice of
 Appeal be filed within:


             1.          Thirty days (60 days if the United States is a party) after the date of
                         "entry of the judgment or order appealed from;" or

             2.          Thirty days (60 days if the United States is a party) after the date of entry
                         of an order denying a timely motion for a new trial under Fed. R. Civ. P.
                         59; or

             3.          Thirty days (60 days if the United States is a party) after the date of entry
                         of an order granting or denying a timely motion for judgment under Fed.
                         R. Civ. P. 50(b), to amend or make additional findings of fact under Fed.
                         R. Civ. P. 52(b), and/or to alter or amend the judgment under Fed. R. Civ.
                         P. 59; or

             4.          Fourteen days after the date on which a previously timely Notice of
                         Appeal was filed.

 If a Notice of Appeal is not timely filed, a party in a civil case can move the District Court pursuant to
 Fed. R. App. P. 4(a)(5) to extend the time for filing a Notice of Appeal. This motion must be filed no
 later than 30 days after the period for filing a Notice of Appeal expires. If the motion is filed after the
 period for filing a Notice of Appeal expires, the party bringing the motion must give the opposing
 parties notice of it. The District Court may grant the motion, but only if excusable neglect or good
 cause is shown for failing to file a timely Notice of Appeal.




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